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EDOK Criminal Complaint (Revised 6113)




                              United States District Court
                                         EASTERN DISTRICT OF OKLAHOMA
UNITED STATES OF AMERICA,
                                                                       CRIMINAL COMPLAINT
                                           Plaintiff,

v.                                                                     Case No.              21-MJ-173-KEW

CHAD JON'DALE VOYLES,

                                           Defendant.



      I, Kevin B. Hall, Jr., the undersigned complainant, state that the following is true to the best of
my knowledge and belief.

       On or about December 23, 2020, in the Eastern District of Oklahoma, in Indian Country, CHAD
JON'DALE VOYLES, committed the crime of Murder in Indian Country, in violation of Title 18,
United States Code, Sections 111 l(a), 1151, and 1152.

      I further state that I am a Special Agent with the Federal Bureau oflnvestigation, and that this
complaint is based on the following facts:

       (See attached Affidavit of Kevin B. Hall, Jr., which is attached hereto and made a part hereof by
reference.)

             IZI          Continued on the attached sheet.




                                                             Special Agent
                                                             Federal Bureau of Investigation

Sworn to before me and subscribed in my presence at: MUSKOGEE,

OKLAHOMA Date: April 21, 2021


UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer                           Signature of Judicial Officer
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                                           AFFIDAVIT

     I, Kevin B Hall, Jr., being duly sworn, does depose and state the following:

                      AGENT BACKGROUND AND INTRODUCTION

        1.     I am a Special Agent (SA) of the Federal Bureau of Investigation (FBI) where I

have been employed since September of 2015. I am an investigative officer, or law enforcement

officer, of the United States of America within the meaning of Title 18, United States Code

(U.S.C.), Section 2510(7), that is an officer of the United States who is empowered by law to

conduct investigation of, and make arrests for, offenses enumerated in Title 18. In the course of

my duties as special agent, I have investigated criminal violations related to Indian Country crimes,

as explained in 18, United States Code (U .S.C.), 1151 and as it pertains to the Major Crimes Act

(MCA). Further, I have investigated violent crimes, drug offenses, and child abuse crimes.

Therefore, I, Kevin Hall, the undersigned complainant, state that the following is true to the best

of my knowledge and belief:

                                      PROBABLE CAUSE

       2.      The statements contained in this Affidavit are based in part on information provided

by other agencies, written reports about this and other investigations that I have received, directly

or indirectly, from other law enforcement agents; independent investigation; and my experience,

training, and background as a Special Agent with the FBI. Because this Affidavit is being

submitted for the limited pUIpose of establishing probable cause to believe that CHAD JON 'DALE

VOYLES committed the below-described offense, I have not included every detail of the

investigation. In addition, unless otherwise indicated, all statements contained in this Affidavit

are summaries in substance and in part.




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       3.      As will be shown below, there is probable cause to believe that CHAD JON'DALE

VOYLES committed the offense of Murder in Indian Country, in violation of Title 18, United

States Code, Sections 111 l(a), 1151, and 1152.

       4.      VENUE: The facts and circumstances alleged in this affidavit occurred in Fort

Towson, Oklahoma, within the Eastern District of Oklahoma. The facts and circumstances

occurred within the special maritime and territorial jurisdiction of the United States and in Indian

Country, to wit the Choctaw Nation Reservation.

       5.      DEFENDANT: The defendant is CHAD JON'DALE VOYLES, hereinafter

referred to as VOYLES.

       6.      VICTIM: The victim in this matter was CURTIS LEE MARTIN. For purposes of

federal jurisdiction, CURTIS LEE MARTIN was an Indian and was an enrolled member by

blood of the Choctaw Nation.

       7.      BACKGROUND: On or about December 23, 2020, Choctaw County

Communications received a report of an overturned vehicle near a residence on N 2000 Road near

Fort Towson, Oklahoma. Oklahoma Highway Patrol (OHP) Trooper Nathan Mullins and Choctaw

County Sheriff's Office (CCSO) Deputy Ron Miller responded to the scene. Upon arrival, Trooper

Mullins and Deputy Miller found the vehicle to be unoccupied. The vehicle was registered to

CURTIS LEE MARTIN. Officers observed smoke originating from a residence north of the

vehicle on E. 2000 Road, Fort Towson, Oklahoma.

       8.      Trooper Mullins and Deputy Miller attempted to make contact with the occupants

of the residence on E. 2000 Road and discovered CURTIS LEE MARTIN deceased within the

residence. Sheriff Terry Park of the CCSO contacted Oklahoma State Bureau of Investigation

(OSBI) Special Agent Sonny Stewart and requested OSBI investigative assistance.




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        9.      On or about December 23,2020, the CCSO was contacted by D.S., a Facebook

friend of A.N.R.M. D.S. reported he received Facebook Messenger messages from A.N.R.M

where A.N.R.M. said she had planned to kill her parents. A.N.R.M. said that her boyfriend, 15-

year-old B.N.M. and their friend, CHAD JON 'DALE VOYLES (hereinafter "VOYLES"), were

going to help kill A.N.R.M.'s parents.

        10.     OSBI Agents located and interviewed VOYLES, who confessed to his involvement

in the murder of CUR TIS LEE MAR TIN after waiving his Miranda rights and signing a Miranda

waiver. VOYLES confessed to assisting in the cleanup of the crime scene that was the result of

the murder of SHERRIE PYRON (hereinafter "PYRON"), A.N .R.M. 's mother. VOYLES also

informed OSBI agents that VOYLES packed bats, knives, extra clothes, and a bow and arrow, the

tip of which VOYLES replaced with razor blades. VOYLES admitted to hitting CURTIS LEE

MAR TIN with a baseball bat, and ultimately dousing CUR TIS LEE MAR TIN with gasoline and

pouring gasoline on the stove before turning on all the burners. VOYLES confessed to agents that

he wore two sets of clothes in preparation for the murder, and he hid some of the clothes along

with the bow behind a shed on his property. At the conclusion of the interview, VOYLES was

arrested and transported to the Choctaw County Jail.

        11.     On or about December 23, 2020, OSBI Special Agents Sonny Stewart and Chad

Barnett observed A.N .R.M. and B.N .M. walking along Highway 147 southwest of the crime scene.

A.N.R.M. and B.N.M. fled into a wooded area but were apprehended by the agents after a short

foot pursuit.

        12.     OSBI Agent Stewart interviewed A.N.R.M. who waived her rights by signing a

Miranda warning waiver and stated she had previously discussed killing her parents with B.N.M

and VOYLES. A.N.R.M. told Agent Stewart that on December 22, 2020, she told her mother,

PYRON, she was pregnant. A.N .R.M. believed the child was B.N .M.' s, and after she told PYRON


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about the pregnancy, A.N.R.M. and PYRON got into an argument. A.N.R.M.left the house and

met up with B.N.M. and VOYLES. A.N.R.M., B.N.M. and VOYLES discussed killing CURTIS
                 .
LEE MAR TIN and PYRON.

       13.    A.N .R.M. told Agent Stewart she returned home, had a talk with PYRON and was

no longer upset, but forgot to tell B.N.M. and VOYLES. A.N.R.M. said she took a shower later

that evening and left the bathroom window open. While fixing her hair in the bathroom, B.N.M

and VOYLES climbed in through the window. VOYLES had a bat and a taser, and A.N.R.M. had

a bat and a knife. A.N.R.M. told B.N.M. and VOYLES that PYRON was asleep on the couch.

       14.    A.N.R.M. stayed in the bathroom while B.N.M. and VOYLES went into the living

room. A.N.R.M. could hear PYRON screaming while she was being hit with the bats. Eventually,

A.N.R.M. stepped into the hallway and saw B.N.M. and VOYLES dragging PYRON'S bleeding

bod y out of the back door of the house. A.N .R.M. said B.N .M. and VOYLES got the body outside

and duga hole. At some point, A.N.R.M. assisted B.N.M. and VOYLES with digging the hole by

handing them a pickaxe.

       15.    A.N.R.M., B.N.M. and VOYLES went back into the house and cleaned up blood

with bleach and mops. After they were done cleaning, A.N.R.M. made breakfast for B.N.M. and

VOYLES. When they were done eating, A.N.R.M., B.N.M. and VOYLES went to a nearby

abandoned house. Eventually, B.N.M. and VOYLES returned to A.N.R.M.'S home to wait on

A.N.R.M.'S father, CURTIS LEE MARTIN, to come home. A.N.R.M. exchanged text messages

and phone calls with VOYLES and B.N.M., and during one of the phone calls they told her, "it

was done."

       16.    Later, B.N .M. came back to the abandoned house and told A.N .R.M. he wrecked

the car, and VOYLES went home. Also, B.N.M. toldA.N.R.M. that VOYLES had missed his shot

and that B.N.M. and VOYLES burned CURTIS LEE MARTIN. A.N.R.M. and B.N.M. left the


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abandoned house, walked through the woods, and eventually settled on hiding out in a van.

A.N.R.M. told Agent Stewart she had contacted D.S. in attempt to get help with the murders of

CURTIS LEE MARTIN and PYRON. A.N.R.M. said she hoped D.S., who lives in Weatherford,

Texas would help get them out of Oklahoma.

        17.    B.N .M. was interviewed under Miranda in the presence of his biological mother,

C.W., and provided information that A.N.R.M. was pregnant with his child, and CURTIS LEE

MARTIN and PYRON did not like B.N.M .. B.N.M. told the OSBI Agents that A.N.R.M. and

B.N .M. decided the only way they could be together and raise their child was to kill A.N .R.M. 'S

parents. B.N.M. told the OSBI Agents that PYRON was buried in the back yard of the A.N.R.M

residence.

        18.    Based upon information provided by B.N.M. and A.N.R.M., a clandestine grave

containing the body of PYRON was found in the back yard of the A.N.R.M. residence.

        19.    On December 26,2020, the Medical Examiner examined the bodies of PYRON

and CURTIS LEE MARTIN and conducted an autopsy of both as well. The Medical Examiner

concluded that PYRON died by homicide caused by multiple blunt force injuries. The Medical

Examiner also concluded that PYRON suffered from multiple sharp force injuries. Likewise, the

Medical Examiner concluded that CURTIS LEE MARTIN died by homicide caused by thermal

bum injuries with smoke and soot inhalation.        The Medical Examiner also determined that

CURTIS LEE MARTIN suffered blunt force trauma of the head.

       21.     The facts presented in this affidavit are not a complete recitation of all the facts

known to law enforcement; rather, the Affidavit is solely offered to establish probable cause for

the crime presented in this Affidavit.




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                                       CONCLUSION

       22. Based on a review of this case, and based on my knowledge and experience with

violent crime in Indian Country, I, as your Affiant have probable cause to believe that CHAD

JON'DALE VOYLES committed the offense of Murder in Indian Country, in violation of Title

18, United States Code, Sections 111 l(a), 1151 and 1152.




                                                   KEVINB. AL ,JR.
                                                   Special Agent, FBI


Sworn before me this 21st day of April 2021.




                                                   UNITED STATES MAGISTRATE JUDGE
                                                   EASTERN DISTRICT OF OKLAHOMA




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